     Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 1 of 27



          UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF TEXAS
                 AUSTIN DIVISION


United States of America,

                      Plaintiff,
                                       Case No. 1:21-cv-00796-RP
v.

The State of Texas,

                      Defendant.


     INTERVENORS’ RESPONSE TO THE UNITED STATES’
         MOTION FOR PRELIMINARY INJUNCTION
        Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 2 of 27



                                             TABLE OF CONTENTS
Table of contents .................................................................................................... i
Table of authorities ................................................................................................ ii
     I. The United States has failed to make a “clear showing” of likely success
        on merits .................................................................................................... 1
           A. The United States has failed to make a “clear showing” of a cause
              of action ................................................................................................ 2
           B. The United States has failed to make a “clear showing” that it is
              entitled to an injunction that prevents Texas from enforcing any
              provision of SB 8 in any situation........................................................... 9
           C. The United States has failed to make a “clear showing” that this
              Court can enjoin private individuals that might sue under SB 8 ............ 13
           D. The United States has failed to make a “clear showing” that a federal
              court can enjoin a state’s judiciary from considering lawsuits that
              have yet to be filed .............................................................................. 14
           E. The United States has failed to make a “clear showing” that any
              federal law preempts SB 8 .................................................................... 16
           F. The United States has failed to make a “clear showing” that the law
              has the sweeping effects it alleges. ........................................................ 18
     II.     The United States has failed to make a clear showing that a
             preliminary injunction will prevent irreparable harm ............................... 18
     III. The United States has failed to make a “clear showing” that the
          balance of equities weighs in its favor...................................................... 20
     IV. The United States has failed to make a “clear showing” that the public
         interest favors a preliminary injunction that prevents Texas from
         enforcing SB 8 in any situation ............................................................... 20
Conclusion .......................................................................................................... 21
Certificate of service ............................................................................................ 22




intervenors’ brief opposing motion for preliminary injunction                                               Page i of iv
        Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 3 of 27



                                        TABLE OF AUTHORITIES
Cases
Alabama State Federation of Labor, Local Union No. 103 v. McAdory,
  325 U.S. 450 (1945) ................................................................................. 10, 12
Alexander v. Sandoval, 532 U.S. 275 (2001)...................................................... 6, 8
Armstrong v. Exceptional Child Center, Inc., 575 U.S. 320 (2015)...................... 3, 8
Barber v. Bryant, 860 F.3d 345 (5th Cir. 2017) ..................................................... 1
Berman v. Parker, 348 U.S. 26 (1954) ................................................................. 20
Califano v. Yamasaki, 442 U. S. 682 (1979) ........................................................ 12
Camreta v. Greene, 563 U.S. 692 (2011) ............................................................. 19
City of Houston v. Bates, 406 S.W.3d 539 (Tex. 2013) .......................................... 12
Connecticut v. Menillo, 423 U.S. 9 (1975)...................................................... 10, 12
Davis v. Passman, 442 U.S. 228 (1979) ................................................................. 2
Digital Recognition Network, Inc. v. Hutchinson, 803 F.3d 952 (8th
  Cir. 2015) ......................................................................................................... 7
Dobbs v. Jackson Women’s Health Organization, No. 19-1392 ............................... 20
Edgar v. MITE Corp., 457 U.S. 624 (1982) ......................................................... 19
Ex parte Young, 209 U.S. 123 (1908) .................................................................. 15
Hansberry v. Lee, 311 U.S. 32 (1940) .................................................................. 13
Harris v. McRae, 448 U.S. 297 (1980) ................................................................ 10
Hernandez v. Mesa, 140 S. Ct. 735 (2020) ........................................................ 5, 6
In re Gee, 941 F.3d 153 (5th Cir. 2019) .............................................................. 13
Kansas v. Garcia, 140 S. Ct. 791 (2020) ............................................................. 16
Lake Shore Asset Management Ltd. v. Commodity Futures Trading
  Commission, 511 F.3d 762 (7th Cir. 2007) ...................................................... 14
Leavitt v. Jane L., 518 U.S. 137 (1996) ............................................................... 12
Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118
  (2014) .............................................................................................................. 3
Mazurek v. Armstrong, 520 U.S. 968 (1997) ....................................................... 10
Middlesex County Ethics Commission v. Garden State Bar Ass’n, 457
  U.S. 423 (1982) .............................................................................................. 15
New York Times Co. v. Sullivan, 376 U.S. 254 (1964) ............................................ 7
Okpalobi v. Foster, 244 F.3d 405 (5th Cir. 2001) (en banc) .................................. 19



intervenors’ brief opposing motion for preliminary injunction                                              Page ii of iv
        Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 4 of 27



Osborn v. Bank of United States, 22 U.S. 738 (1824) ............................................ 13
Planned Parenthood of Greater Texas Surgical Health Services v. Abbott,
  748 F.3d 583 (5th Cir. 2014) .................................................................... 10, 12
Planned Parenthood of Southeastern Pa. v. Casey, 505 U.S. 833 (1992) ................. 11
Pulliam v. Allen, 466 U.S. 522 (1984)................................................................. 15
Roe v. Wade, 410 U.S. 113 (1973) ................................................................. 10, 11
Roho, Inc. v. Marquis, 902 F.2d 356 (5th Cir. 1990) ........................................ 1, 18
Seminole Tribe of Florida v. Florida, 517 U.S. 44 (1996)......................................... 5
Steffel v. Thompson, 415 U.S. 452 (1974) ............................................................. 15
Texas Medical Providers Performing Abortion Services v. Lakey, 667
  F.3d 570 (5th Cir. 2012) ................................................................................... 1
United States v. City of Jackson, 318 F.2d 1 (5th Cir. 1963) .................................... 7
United States v. City of Philadelphia, 644 F.2d 187 (3d Cir. 1980) ..................... 3, 5
United States v. Salerno, 481 U.S. 739 (1987) ...................................................... 17
Voting for America, Inc. v. Steen, 732 F.3d 382 (5th Cir. 2013).................. 1, 12, 20
Whole Woman’s Health v. Jackson, --- F.4th ----, 2021 WL 4128951
 (5th Cir. Sept. 10, 2021) ................................................................................. 15
Will v. Michigan Dep’t of Police, 491 U.S. 58 (1989) .............................................. 2
Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952) ................................ 4
Zenith Radio Corp. v. Hazeltine Research, Inc., 395 U.S. 100 (1969).............. 13, 14
Ziglar v. Abbasi, 137 S. Ct. 1843 (2017) ............................................................... 6
Zimmerman v. City of Austin, 620 S.W.3d 473 (Tex. App.—El Paso
  2021) .............................................................................................................. 11
Statutes and Constitutional Provisions
10 U.S.C. § 1093 ................................................................................................ 16
42 U.S.C. § 1983 .......................................................................................... 2, 3, 6
42 U.S.C. § 2000b(a) .................................................................................... 4, 5, 7
42 U.S.C. § 2000c-6(a) ................................................................................. 4, 5, 7
Consolidated Appropriations Act, 2021, Pub. L. 116-260, 134 Stat.
  1182 §§ 613–14 (Dec. 27, 2020) .................................................................... 17
Tex. Health & Safety Code § 171.207 ................................................................. 13
Tex. Health & Safety Code § 171.208(d) ............................................................ 20
Tex. Health & Safety Code § 171.208(e)(3)–(4) ................................................. 19



intervenors’ brief opposing motion for preliminary injunction                                             Page iii of iv
       Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 5 of 27



Tex. Health & Safety Code § 171.212 ..................................................... 10, 12, 17
Tex. Health & Safety Code § 171.212(a) ....................................................... 10, 17
U.S. Const. amend. XIV, § 5 .................................................................................. 3
Other Authorities
David P. Currie, Misunderstanding Standing, 1981 Sup. Ct. Rev. 41 ..................... 2
Richard A. Posner, The Regulation of the Market in Adoptions, 67 B.U.
  L. Rev. 59 (1987) ............................................................................................ 19




intervenors’ brief opposing motion for preliminary injunction                                        Page iv of iv
         Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 6 of 27



     A preliminary injunction is an “extraordinary remedy,” and it may not be granted unless
the movant has “clearly carried the burden of persuasion on all four requirements.” Texas

Medical Providers v. Lakey, 667 F.3d 570, 574 (5th Cir. 2012). That means the United States
must make: (1) a “clear showing” that it will likely succeed on the merits; (2) a “clear show-
ing” that the United States will suffer irreparable harm absent a preliminary injunction; (3)
a “clear showing” that the United States’ injury outweighs any harm that will result if a
preliminary injunction is granted; and (4) a “clear showing” that a preliminary injunction
will serve the public interest. See Roho, Inc. v. Marquis, 902 F.2d 356, 358 (5th Cir. 1990).
     The United States refuses to acknowledge the “clear showing” requirement, and it does
not even assert that it has “clearly carried” its burden of persuasion on any of the four prongs
of the preliminary-injunction test. But the law of the Fifth Circuit requires a “clear showing”
from the movant on each of these four requirements. See Voting for America, Inc. v. Steen,
732 F.3d 382, 386 (5th Cir. 2013) (“This court has repeatedly cautioned that ‘a preliminary
injunction is an extraordinary remedy which should not be granted unless the party seeking
it has clearly carried the burden of persuasion on all four requirements.’” (citation and some
internal quotation marks omitted)). The United States comes nowhere close to making a
“clear showing” on any component of the preliminary-injunction test.

I.     The United States Has Failed To Make A “Clear Showing” Of
       Likely Success On Merits
     The United States must make a “clear showing” that it will prevail on the merits of its
claims. That requires it to make: (1) a “clear showing” that it has a cause of action; 1 and (2)
a “clear showing” that it is entitled to the injunction that it seeks. The United States falls
woefully short on each of these fronts.




1. See Barber v. Bryant, 860 F.3d 345, 352 (5th Cir. 2017) (“Because a preliminary injunc-
   tion ‘may only be awarded upon a clear showing that the plaintiﬀ is entitled to such
   relief,’ the plaintiﬀs must make a ‘clear showing’ that they have standing to maintain the
   preliminary injunction.” (citation omitted)).


intervenors’ brief opposing motion for preliminary injunction                       Page 1 of 22
         Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 7 of 27



       A.     The United States Has Failed To Make A “Clear Showing” Of A Cause
              Of Action
    The United States cannot bring this lawsuit unless it identifies a cause of action that

authorizes it to sue Texas over SB 8. See Davis v. Passman, 442 U.S. 228, 239 n.18 (1979)
(“cause of action is a question of whether a particular plaintiff is a member of the class of
litigants that may, as a matter of law, appropriately invoke the power of the court”); David P.
Currie, Misunderstanding Standing, 1981 Sup. Ct. Rev. 41, 42 (“No one can sue . . . unless
authorized by law to do so”). And there is no cause of action that allows the United States
to sue a state over an allegedly unconstitutional (or allegedly preempted) abortion statute.

              1.      There Is No “Clear Showing” Of A Cause Of Action That
                      Authorizes The United States To Sue Texas For Enacting Or
                      Enforcing An Allegedly Unconstitutional Abortion Statute
    The United States spends most of its brief railing about how unconstitutional it thinks
SB 8 is. See Pl.’s Br., ECF No. 8 at 1–16.2 But none of that matters in the absence of a law
that allows the United States to sue Texas over these supposed constitutional violations.
Congress has, for example, enacted a statute that authorizes individuals to sue state officials
(but not state governments)3 that violate their constitutional rights. See 42 U.S.C. § 1983.
But Congress has never authorized the federal government to sue a state whenever it violates
the constitutional rights of its citizens. So the Fourteenth Amendment claims should be dis-
missed for the absence of a cause of action, as there is simply no law that allows the United
States to sue a state for violating the supposed constitutional right to abortion.
    The United States does not even attempt to identify a statute that authorizes it to sue
Texas over SB 8. Instead, it asks this Court to invent a cause of action under the Take Care
Clause, which would allow the federal government to sue a state that violates the executive
branch’s interpretation of the Constitution. See Pl.’s Br., ECF No. 8 at 25. The United States


2. Many of the United States’ factual assertions about SB 8 are false, which the intervenors
   intend to demonstrate at the preliminary-injunction hearing.
3. Will v. Michigan Dep’t of Police, 491 U.S. 58 (1989) (a state is not a “person” under 42
   U.S.C. § 1983).


intervenors’ brief opposing motion for preliminary injunction                        Page 2 of 22
         Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 8 of 27



does not go so far as to claim that the Take Care Clause authorizes the executive to sue any
state that enacts or enforces a law that the executive believes to be unconstitutional. See id.

at 24–25. Instead, the United States asks this Court to create a cause of action that would
allow federal lawsuits only in the “unique circumstances presented here” — where a state
enacts an arguably unconstitutional law that cannot be challenged in a pre-enforcement law-
suit under 42 U.S.C. § 1983. See id. at 25–26.
    The United States’ argument is untenable for many reasons. First, the Fourteenth
Amendment, like the Supremacy Clause, “is silent regarding who may enforce [it] in court,
and in what circumstances they may do so.” Armstrong v. Exceptional Child Center, Inc., 575
U.S. 320, 325 (2015). Instead, the Fourteenth Amendment empowers Congress to “en-
force” its requirements “by appropriate legislation.” U.S. Const. amend. XIV, § 5. That
means it is up to Congress to decide whether and to what extent lawsuits should be author-
ized against individuals and entities that violate the Fourteenth Amendment — and neither
the executive nor federal judiciary can create causes of action to enforce the Fourteenth
Amendment when Congress has declined to do so. See Lexmark Int’l, Inc. v. Static Control
Components, Inc., 572 U.S. 118, 128 (2014) (“[A] court cannot apply its independent policy
judgment to recognize a cause of action that Congress has denied”). The notion that the
Take Care Clause allows the executive branch to unilaterally sue entities that violate the Four-
teenth Amendment is incompatible with the Amendment’s decision to vest the enforcement
authority in Congress. See United States v. City of Philadelphia, 644 F.2d 187, 200 (3d Cir.
1980) (refusing to recognize an implied right of action for the federal government to sue

over Fourteenth Amendment violations because “[s]ection 5 of the fourteenth amendment
confers on Congress, not on the Executive or the Judiciary, the ‘power to enforce, by appro-
priate legislation, the provisions of this article.’”). Likewise, the Take Care Clause does not
grant power to the President to sue anyone who violates a federal law; it imposes a duty on
him to “take Care that the Laws be faithfully executed.” That means the President must
execute the laws according to the enforcement procedures established in those laws; it does


intervenors’ brief opposing motion for preliminary injunction                       Page 3 of 22
         Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 9 of 27



not give the executive a power to create new mechanisms for enforcing federal legal obliga-
tions. See Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 587–88 (1952).

    Second, Congress has on occasion created causes of action that authorize the executive
to sue state entities that violate the Fourteenth Amendment. See, e.g., 42 U.S.C. § 2000b(a)
(authorizing the attorney general to sue state entities that enforce racially segregated public
facilities); 42 U.S.C. § 2000c-6(a) (authorizing the attorney general to sue state entities that
maintain racially segregated schools). But Congress has conferred this power sparingly — and
when it has conferred this power it carefully limits the circumstances in which a federal en-
forcement lawsuit may be brought. Consider 42 U.S.C. § 2000b(a), which authorizes the
United States to sue state entities that enforce racially segregated public facilities:

       Whenever the Attorney General receives a complaint in writing signed by an
       individual to the effect that he is being deprived of or threatened with the loss
       of his right to the equal protection of the laws, on account of his race, color,
       religion, or national origin, by being denied equal utilization of any public
       facility which is owned, operated, or managed by or on behalf of any State or
       subdivision thereof, other than a public school or public college as defined in
       section 2000c of this title, and the Attorney General believes the complaint is
       meritorious and certifies that the signer or signers of such complaint are una-
       ble, in his judgment, to initiate and maintain appropriate legal proceedings for
       relief and that the institution of an action will materially further the orderly
       progress of desegregation in public facilities, the Attorney General is author-
       ized to institute for or in the name of the United States a civil action in any
       appropriate district court of the United States against such parties and for such
       relief as may be appropriate, and such court shall have and shall exercise juris-
       diction of proceedings instituted pursuant to this section.
42 U.S.C. § 2000b(a). Notice all the preconditions that must be satisfied before the Attorney
General can sue under section 2000b(a): (1) The Attorney General must “receive a complaint
in writing” from the individual who is suffering a violation of his Fourteenth Amendment
rights; (2) The complaint must describe a specific type of Fourteenth Amendment violation,
namely a deprivation or threatened deprivation of one’s right of equal access to a “public
facility” on account of “race, color, religion, or national origin”; (3) The Attorney General
must conclude that the complaint is “meritorious”; (4) The Attorney General must “certify”



intervenors’ brief opposing motion for preliminary injunction                             Page 4 of 22
         Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 10 of 27



that the complainant is “unable” to sue for relief on his own; and (5) The Attorney General
must “certify” that a lawsuit brought by the United States “will materially further the orderly

progress of desegregation in public facilities.” Id. Unless all five of these criteria are satisfied,
the Attorney General cannot sue to enforce the Fourteenth Amendment under 42 U.S.C.
§ 2000b(a). 42 U.S.C. § 2000c-6(a) establishes similar preconditions for lawsuits brought
by the United States to desegregate public schools. See 42 U.S.C. § 2000c-6(a).
    These congressional enactments foreclose any possibility of an implied cause of action to
sue a state over an alleged Fourteenth Amendment violation. Congress has specifically ad-
dressed the circumstances in which the Attorney General may sue in response to violations
of the Fourteenth Amendment — and it has carefully limited the scope of these causes of
action in a manner that precludes the Attorney General from suing a state over other alleged
Fourteenth Amendment violations. See Seminole Tribe of Florida v. Florida, 517 U.S. 44, 74
(1996) (“Where Congress has created a remedial scheme for the enforcement of a particular
federal right, we have, in suits against federal officers, refused to supplement that scheme
with one created by the judiciary.”); Hernandez v. Mesa, 140 S. Ct. 735, 747 (2020) (refus-
ing to infer a cause of action for aliens abroad to sue for alleged violations of their constitu-
tional rights given that they were expressly excluded section 1983’s cause of action, because
“it would be anomalous to impute a judicially implied cause of action beyond the bounds
Congress has delineated for a comparable express cause of action.” (cleaned up)). The United
States does not acknowledge 42 U.S.C. § 2000b(a) or 42 U.S.C. § 2000c-6(a) in its brief,
and it presents no argument for how this Court could recognize a cause of action to sue a

state for violating the Fourteenth Amendment in the teeth of these statutory enactments.
    Third, the notion of an implied cause of action to enforce the Fourteenth Amendment
was emphatically rejected in United States v. City of Philadelphia, 644 F.2d 187 (3d Cir.
1980). See id. at 201 (“[T]he fourteenth amendment does not implicitly authorize the
United States to sue to enjoin violations of its substantive prohibitions.”). The United States
does not contend that City of Philadelphia was wrongly decided. Instead, the United States


intervenors’ brief opposing motion for preliminary injunction                            Page 5 of 22
        Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 11 of 27



urges this Court to carve a one-off exception to City of Philadelphia’s holding, which would
authorize federal lawsuits to enforce the Fourteenth Amendment only when a state has “de-

signed its laws” to prevent individuals from bringing pre-enforcement lawsuits under 42
U.S.C. § 1983. See Pl.’s Br., ECF No. 8 at 26. This argument is doubly flawed.
    To begin, this Court has no authority to patch up alleged holes in 42 U.S.C. § 1983 by
allowing the United States to sue Texas over its alleged Fourteenth Amendment violation. If
a state enacts a law that is not subject to pre-enforcement review under 42 U.S.C. § 1983,
then the solution is to ask Congress to amend section 1983 or create a new cause of action
that would allow the United States (or some other plaintiff) to obtain pre-enforcement relief
against SB 8. It is not to ask the judiciary to invent a new cause of action that “fixes” these
perceived shortcomings with 42 U.S.C. § 1983. The Supreme Court no longer allows federal
courts to invent causes of action that Congress has not provided. See Ziglar v. Abbasi, 137 S.
Ct. 1843, 1856 (2017) (“If the statute does not itself so provide, a private cause of action
will not be created through judicial mandate.”); Alexander v. Sandoval, 532 U.S. 275, 286–
287 (2001) (“Without [statutory intent], a cause of action does not exist and courts may
not create one, no matter how desirable that might be as a policy matter, or how compatible
with the statute.”); id. at 287 (“Raising up causes of action where a statute has not created
them may be a proper function for common-law courts, but not for federal tribunals.” (cita-
tion and internal quotation marks omitted)). And cases in which courts have “inferred”
causes of action are now regarded as relics of a bygone era. See Hernandez, 140 S. Ct. at 741
(“Bivens, Davis, and Carlson were the products of an era when the Court routinely inferred

‘causes of action’ that were ‘not explicit’ in the text of the provision that was allegedly vio-
lated.”). The United States does not acknowledge any of this authority, and it makes no
attempt to explain how this Court can create recognize an “implied” right of action when
the Supreme Court has been saying for decades that federal courts must stop inferring new
causes of action from statutes or constitutional provisions.




intervenors’ brief opposing motion for preliminary injunction                       Page 6 of 22
         Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 12 of 27



    In addition, it is entirely commonplace for laws to “escape” pre-enforcement review un-
der 42 U.S.C. § 1983. A state’s defamation laws, for example, are enforced entirely through

private civil lawsuits, and there is no way for a publisher to sue the state or its officers under
42 U.S.C. § 1983 if it believes that the defamation laws violate the First Amendment. The
New York Times was unable bring a pre-enforcement challenge to Alabama’s defamation
laws, and it had to wait to be sued before raising its First Amendment claims in a defensive
posture. See New York Times Co. v. Sullivan, 376 U.S. 254 (1964). Many other state laws are
enforced solely through private civil lawsuits, and these statutes are likewise immune from
pre-enforcement challenge. See, e.g., Digital Recognition Network, Inc. v. Hutchinson, 803
F.3d 952, 958 (8th Cir. 2015). The United States’ theory would allow the executive to sue
a state whenever it enacts a law or establishes a common-law rule that is enforced through
private litigation, an astonishing result. Does the United States actually believe that the fed-
eral government could have sued Alabama (or any other state) over its defamation laws?
    Finally, the United States cites no authority that allows the federal government to sue a
state over an alleged violation of the Fourteenth Amendment. The closest it comes is United
States v. City of Jackson, 318 F.2d 1 (5th Cir. 1963), but that case allowed the United States
to sue a city only because its policy violated the Commerce Clause in addition to the Four-
teenth Amendment. See id. at 14. And Jackson specifically held that it was the Commerce
Clause — and not the Fourteenth Amendment — that provided the cause of action for the
United States to sue in that case:

       When the action of a State violative of the Fourteenth Amendment conflicts
       with the Commerce Clause and casts more than a shadow on the Supremacy
       Clause, the United States has a duty to protect the “interests of all.” . . . The
       issue here is framed by the Commerce Clause. Under that clause there is author-
       ity for the United States to sue without specific congressional authorization.
See id. at 14 (emphasis added). And even if Jackson had held that a mere violation of the
Fourteenth Amendment could authorize a federal lawsuit, that holding would not be sus-
tainable after the enactment of 42 U.S.C. § 2000b(a) and 42 U.S.C. § 2000c-6(a), which



intervenors’ brief opposing motion for preliminary injunction                         Page 7 of 22
        Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 13 of 27



carefully spell out the limited circumstances in which the United States may sue to enforce
the requirements of the Fourteenth Amendment.

    This is more than enough to show that the United States has failed to make a “clear
showing” of a cause of action that would allow it to sue Texas over its alleged violations of
the Fourteenth Amendment. The novelty of the United States’ proposed cause of action is
reason alone to reject it at the preliminary-injunction stage.

              2.      There Is No “Clear Showing” Of A Cause Of Action That
                      Authorizes The United States To Sue Texas For Enacting Or
                      Enforcing An Allegedly Preempted Abortion Statute
    The United States also complains that that SB 8 is partially preempted by federal law. See
Pl.’s Br., ECF No. 8 at 16–22. But these arguments cannot be entertained unless a cause of

action authorizes the United States to sue Texas over this supposedly preempted statute. And
the United States cannot derive such a cause of action from any statute or constitutional
provision.

    The Supreme Court has already rejected the notion that the Supremacy Clause can pro-
vide an implied right of action to sue over allegedly preempted laws. See Armstrong v. Excep-
tional Child Center, Inc., 575 U.S. 320, 326–27 (2015). And none of the statutes or regula-
tions that allegedly preempt SB 8 purport to establish a cause of action that would allow the
United States to sue a state that enacts or enforces a conflicting law. See Alexander, 532 U.S.

at 287 (prohibiting federal courts from “[r]aising up causes of action where a statute has not
created them”). So the United States has nothing from which it can derive as a cause of
action, as neither the relevant statutes nor the relevant constitutional provision purports to
authorize lawsuits against states that enact or enforce allegedly preempted laws.
    The United States tries to get around this problem by claiming that it can sue a state or
anyone else for equitable relief whenever it does so to protect “federal interests” (whatever
that means) — and that it can bring such lawsuits regardless of whether the underlying law
establishes a cause of action. See Pl.’s Br., ECF No. 8 at 22 (“It is well established that the




intervenors’ brief opposing motion for preliminary injunction                       Page 8 of 22
         Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 14 of 27



United States may seek equitable relief to protect federal interests”). The United States be-
gins by observing that the Supreme Court has occasionally allowed the United States to seek

equitable relief to vindicate “various federal interests,” even in the absence of a statutory
cause of action. See id. at 23 (listing the “federal interests” at issue in those cases). It then
infers from those cases that the federal government may sue and seek equitable relief when-
ever it purports to be vindicating any “federal interest.” See id. at 22–24. But that is a non
sequitur. That the Supreme Court has allowed the United States to sue to vindicate some
federal interests does not mean that the United States can seek equitable relief whenever it
asserts that any “federal interest” is at stake. More importantly, the United States’ position
would produce a radical expansion of implied rights of action, because it is always possible
for the executive branch to assert a “federal interest” of some sort when it wants to sue a
state (or an individual) for engaging in conduct that it dislikes. See, e.g., Pl.’s Br., ECF No. 8
at 24 (asserting that SB 8 “implicates numerous federal interests” (emphasis added)). And
there will always some “federal interest” at stake when the executive asserts a preemption
claim against a state or its officials. So the United States’ position will create an implied cause
of action in any situation in which the executive alleges that a state law or policy is preempted
by federal law — an outcome that turns Armstrong on its head and defies the Supreme
Court’s warnings against the creation of new implied rights of action.

       B.      The United States Has Failed To Make A “Clear Showing” That It Is
               Entitled To An Injunction That Prevents Texas From Enforcing Any
               Provision Of SB 8 In Any Situation
    The United States is demanding a preliminary injunction that blocks the state of Texas
from enforcing any provision of SB 8, including provisions of SB 8 that it does not even
allege to be unconstitutional. See Proposed Order, ECF No. 8-1 at 1–2 (requesting an in-
junction that would prevent Texas “from enforcing S.B.8”). It is also seeking to enjoin the
state judiciary from entertaining any civil-enforcement lawsuits filed under SB 8 — even in
situations in which the civil-enforcement lawsuit is undeniably constitutional and consistent




intervenors’ brief opposing motion for preliminary injunction                          Page 9 of 22
         Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 15 of 27



with federal law. See id. at 1–2. But this Court has no authority to enjoin Texas from enforc-
ing the indisputably constitutional applications of SB 8. See Alabama State Federation of La-

bor, Local Union No. 103 v. McAdory, 325 U.S. 450, 465 (1945) (“When a statute is assailed
as unconstitutional we are bound to assume the existence of any state of facts which would
sustain the statute in whole or in part.”); Planned Parenthood of Greater Texas Surgical Health
Services v. Abbott, 748 F.3d 583, 589 (5th Cir. 2014) (“Even when considering facial invali-
dation of a state statute, the court must preserve the valid scope of the provision to the
greatest extent possible.”). And that is especially true when SB 8 contains emphatic severa-
bility requirements that compel reviewing courts to sever and preserve every constitutional
provision (and every constitutional application) of the law. See Senate Bill 8, 87th Leg., §§ 3,
5, 10; see also Tex. Health & Safety Code § 171.212(a) (“Every provision, section, subsec-
tion, sentence, clause, phrase, or word in this chapter, and every application of the provisions
in this chapter, are severable from each other.”); Planned Parenthood of Greater Texas Surgical
Health Services v. Abbott, 748 F.3d 583, 589 (5th Cir. 2014) (“Federal courts are bound to
apply state law severability provisions.”).
    Many of the civil-enforcement lawsuits authorized by Senate Bill 8 are undeniably con-
stitutional under existing Supreme Court precedent. These include:

       Lawsuits brought against those who perform (or assist) non-physician abor-
       tions;4

       Lawsuits brought against those who perform (or assist) post-viability abortions
       that are not necessary to save the life or health of the mother;5

       Lawsuits brought against those who use taxpayer money to pay for post-heart-
       beat abortions;6




4. See Roe v. Wade, 410 U.S. 113, 165 (1973); Connecticut v. Menillo, 423 U.S. 9, 9–10
   (1975); Mazurek v. Armstrong, 520 U.S. 968, 973 (1997).
5. See Roe, 410 U.S. at 164–65;
6. See Harris v. McRae, 448 U.S. 297 (1980).


intervenors’ brief opposing motion for preliminary injunction                      Page 10 of 22
         Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 16 of 27



       Lawsuits brought against those who covertly slip abortion drugs into a preg-
       nant woman’s food or drink.7
In addition, each of the intervenors has stated that they intend to bring civil-enforcement
lawsuits only in response to violations of SB 8 that clearly fall outside the constitutional pro-
tections of Roe v. Wade, 410 U.S. 113 (1973), and Planned Parenthood of Southeastern Pa.
v. Casey, 505 U.S. 833, 874 (1992). Mr. Graham, for example, intends to sue only employers
and insurance companies that provide or arrange for coverage of abortions that violate Senate
Bill 8. See Graham Decl., ECF No. 28-1 at ¶ 9. Mr. Graham also intends to sue the city of
Austin if it uses taxpayer money to subsidize the provision of post-heartbeat abortions per-
formed in Austin, as it was doing before the Heartbeat Act took effect. See id. at ¶ 9; see also
Zimmerman v. City of Austin, 620 S.W.3d 473, 482 (Tex. App. — El Paso 2021, pet. filed).
Mr. Tuley intends to sue only individuals or entities that perform or assist abortions that are
clearly unprotected under existing Supreme Court doctrine, which include: (a) non-physician
abortions; (b) self-administered abortions; and (c) post-viability abortions that are not nec-
essary to preserve the life or health on the mother. See Tuley Decl., ECF No. 28-2 at ¶ 9.
And Ms. Sharp intends to sue only abortion funds who pay for post-heartbeat abortions
performed in Texas. See Sharp Decl., ECF No. 28-3 at ¶ 9. All of these lawsuits authorized

by Senate Bill 8 are indisputably constitutional under Roe and Casey, and this Court has no
authority to enjoin the defendants from filing these types of cases. Nor can it prevent the

Texas judiciary from considering civil-enforcement lawsuits of this sort.
    The United States somehow thinks that it can obtain an across-the-board injunction
against the enforcement of SB 8 in any circumstance — even though Senate Bill 8 has many
constitutional applications, and even though the statute contains emphatic severability re-
quirements that compel reviewing courts to sever and preserve every constitutional applica-
tion of the law. See Senate Bill 8, 87th Leg., §§ 3, 5, 10. But the United States has decided



7. See Alexandra Hutzler, Former Trump Aide Jason Miller Accused of Secretly Administer-
   ing Abortion Pill, Newsweek (Sept. 18, 2018), https://bit.ly/3stDRx2.


intervenors’ brief opposing motion for preliminary injunction                       Page 11 of 22
        Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 17 of 27



that it will simply ignore these severability requirements, as well as the fact that many of the
civil-enforcement lawsuits authorized by Senate Bill 8 are indisputably constitutional, appar-

ently in the hope that its ostrich-like pose will induce this Court to ignore the severability
requirements as well and give the United States the patently unlawful remedy that it is seek-
ing. But ignoring the severability requirements is not an option,8 and a court is not permitted
to categorically enjoin the enforcement of a statute that has indisputably constitutional ap-
plications. See McAdory, 325 U.S. at 465; Connecticut v. Menillo, 423 U.S. 9, 9–10 (1975);
Voting for America, Inc. v. Steen, 732 F.3d 382, 398 (5th Cir. 2013).
    Worse, the United States is attacking only the provisions in section 3 of SB 8, which
prohibit abortions after fetal heartbeat and establish a private civil-enforcement mechanism.
The United States does not even attempt to argue that any provision in sections 1 through
2 or sections 4 through 12 violates the Constitution or is preempted by federal law. Yet the
United States is asking this Court to enjoin Texas from enforcing any provision of SB 8,
including the provisions that the United States is not even challenging as unconstitutional or
preempted. That is patently unlawful when the SB 8’s severability clauses require this Court
to sever and preserve every constitutional provision (and every constitutional application) of
the statute. See Senate Bill 8, 87th Leg., §§ 3, 5, 10; Tex. Health & Safety Code § 171.212;
Califano v. Yamasaki, 442 U. S. 682, 702 (1979) (“[I]njunctive relief should be no more
burdensome to the defendant than necessary to provide complete relief to the plaintiffs”).
And it doubly unlawful because the United States lacks Article III standing to seek injunctive
relief that extends beyond the provisions or applications of SB 8 that are inflicting injury on


8. See Leavitt v. Jane L., 518 U.S. 137, 138 (1996) (per curiam) (rebuking the Tenth Cir-
   cuit for refusing to treat as dispositive the statute’s “explicit stat[ement]” of legislative
   intent regarding severability in a state-law abortion statute); Planned Parenthood of
   Greater Texas Surgical Health Services v. Abbott, 748 F.3d 583, 589 (5th Cir. 2014)
   (“Federal courts are bound to apply state law severability provisions.”); City of Houston
   v. Bates, 406 S.W.3d 539, 549 (Tex. 2013) (“When an ordinance contains an express
   severability clause, the severability clause prevails when interpreting the ordinance.”).




intervenors’ brief opposing motion for preliminary injunction                      Page 12 of 22
         Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 18 of 27



the United States. See In re Gee, 941 F.3d 153, 160 (5th Cir. 2019) (“[P]laintiﬀs must es-
tablish standing for each and every provision they challenge.” (citing authorities)).9

    The United States is responsible for ensuring that its requested injunction is limited to
the allegedly unconstitutional or preempted applications of Senate Bill 8. But the United
States has decided to insist on an across-the-board injunction that prevents any enforcement
of any provision in Senate Bill 8, despite the patent illegality of this remedy. The Court
should deny the preliminary injunction because it cannot award an injunction of that scope
in light of the clear and emphatic severability requirements in SB 8.

       C.      The United States Has Failed To Make A “Clear Showing” That This
               Court Can Enjoin Private Individuals That Might Sue Under SB 8
    The United States is asking this Court to enjoin not only the State of Texas, but every
private individual who might initiate enforcement proceedings under SB 8. See Proposed
Order, ECF No. 8-1 at 1–2. But the State of Texas is the only named defendant, and non-
parties to a lawsuit cannot be enjoined absent notice and an opportunity to be heard. See
Hansberry v. Lee, 311 U.S. 32, 40 (1940) (“[O]ne is not bound by a judgment in personam
in a litigation in which he is not designated as a party or to which he has not been made a
party by service of process.”); Zenith Radio Corp. v. Hazeltine Research, Inc., 395 U.S. 100,
112 (1969) (“It was error to enter the injunction against Hazeltine . . . in a proceeding to
which Hazeltine was [not] a party.”); Osborn v. Bank of United States, 22 U.S. 738, 802
(1824) (“An injunction binds no person but the parties to the suit.”).
    The United States claims that these non-parties can be bound under Rule 65(d)(2)(C)
as “persons . . . in active concert or participation” with the State. See Pl.’s Br., ECF No. 8, at
30. That is preposterous. SB 8 prohibits the State and its officials from enforcing the ban on
post-heartbeat abortions,10 so it is both unlawful and impossible for a would-be litigant to



9. The United States does not even attempt to explain how it has standing to challenge any
    provision of Senate Bill 8 apart from section 3.
10. See Tex. Health & Safety Code § 171.207.


intervenors’ brief opposing motion for preliminary injunction                        Page 13 of 22
        Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 19 of 27



coordinate with the State when bringing private civil-enforcement lawsuits. In addition, a
non-party cannot be deemed a person “in active concert or participation” with a litigant

unless that non-party is given notice and an opportunity to contest that designation. See
Zenith Radio Corp. v. Hazeltine Research, Inc., 395 U.S. 100, 112 (1969) (“Although in-
junctions issued by federal courts bind not only the parties defendant in a suit, but also those
persons ‘in active concert or participation with them who receive actual notice of the order
by personal service or otherwise,’ Fed. Rule Civ. Proc. 65(d), a nonparty with notice cannot
be held in contempt until shown to be in concert or participation. It was error to enter the
injunction against Hazeltine, without having made this determination in a proceeding to
which Hazeltine was a party.”); Lake Shore Asset Management Ltd. v. Commodity Futures
Trading Commission, 511 F.3d 762, 767 (7th Cir. 2007) (Easterbrook, J.) (“[W]hether a
particular person or firm is among the ‘parties’ officers, agents, servants, employees, and
attorneys; [or] other persons in active concert or participation with’ them is a decision that
may be made only after the person in question is given notice and an opportunity to be
heard.”). The government’s interpretation of Rule 65, which would allow every person in
the world to be bound by an injunction directed at the state of Texas, would violate the Due
Process Clause and the Rules Enabling Act, by abridging a non-party’s substantive right to
notice and an opportunity to be heard before being bound by a court’s injunction.

       D.     The United States Has Failed To Make A “Clear Showing” That A
              Federal Court Can Enjoin A State’s Judiciary From Considering Lawsuits
              That Have Yet To Be Filed
    The United States is asking this Court to enjoin the Texas judiciary from even considering
lawsuits that might be filed under SB 8. See Pl.’s Br., ECF No. 8 at 31–32; Proposed Order,
ECF No. 8-1 at 1–2. There is no authority for a federal court to issue an injunction of that
sort. An injunction may be used only to restrain unlawful activity, and a state court does not
do anything unlawful or constitutional by presiding over a lawsuit between private parties —
even when the lawsuit is based on a patently unconstitutional statute. A state court does not




intervenors’ brief opposing motion for preliminary injunction                      Page 14 of 22
         Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 20 of 27



violate federal law unless and until it enters an ruling that violates someone’s federally pro-
tected rights.

    Federal courts must presume that state courts will respect federal rights when deciding
cases. See Steffel v. Thompson, 415 U.S. 452, 460–61 (1974) (“State courts have the solemn
responsibility, equally with the federal courts ‘to guard, enforce, and protect every right
granted or secured by the constitution of the United States. . . .’” (citation omitted); Mid-
dlesex County Ethics Commission v. Garden State Bar Ass’n, 457 U.S. 423, 431 (1982) (“Min-
imal respect for the state processes, of course, precludes any presumption that the state courts
will not safeguard federal constitutional rights.”). The injunction proposed by the United
States presumes that the state courts will flout federal law, and that they must therefore be
enjoined from even considering lawsuits that might be filed under SB 8. That stance is in-
compatible with the presumption of good faith that federal courts must extend to the state
judiciary.
    The United States fails to cite any case in which a federal court has enjoined a state’s
judiciary from considering a lawsuit that has yet to be filed in its courts. And to our
knowledge no such injunction has ever been issued in the 245-year history of the United
States. The United States’ proposed injunction flouts Ex parte Young, 209 U.S. 123 (1908),
which declares that “an injunction against a state court would be a violation of the whole
scheme of our Government,” id. at 163, as well as the Fifth Circuit’s binding pronouncement
in Whole Woman’s Health v. Jackson, --- F.4th ----, 2021 WL 4128951 (5th Cir. Sept. 10,
2021), which endorses this passage from Young, id. at *5. And there has certainly not been

a “clear showing” that an injunction of this type is permissible given Young and the govern-
ment’s own concession that injunctions against judges should be “‘reserved for really extraor-
dinary causes.’” Pl.’s Br., ECF No. 8, at 32 (quoting Pulliam v. Allen, 466 U.S. 522, 538
(1984)).




intervenors’ brief opposing motion for preliminary injunction                      Page 15 of 22
        Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 21 of 27



       E.     The United States Has Failed To Make A “Clear Showing” That Any
              Federal Law Preempts SB 8
    The United States claims that SB 8 “purports to prohibit” federal personnel and con-

tractors from carrying out their supposed “federal obligations” to assist others in obtaining
abortions. See Pls.’ Br., ECF No. 8, at 17. But SB 8 does no such thing. SB 8 merely limits
the availability of post-heartbeat abortions in Texas. Any “federal obligations” to arrange for
post-heartbeat abortions can be fulfilled by having those abortions performed in other states,
as nothing in SB 8 prevents anyone from obtaining or assisting post-heartbeat abortions that
occur outside Texas. It remains possible to comply with both SB 8 and these supposed federal
laws, so there is no basis for finding preemption. See Kansas v. Garcia, 140 S. Ct. 791, 806
(2020). And there is certainly no “clear showing” of preemption based on these federal laws
and regulations.
    The United States falsely claims that 10 U.S.C. § 1093 requires military hospitals to
provide post-heartbeat abortions in cases of rape or incest. See Pls.’ Br., ECF No. 8, at 19.
That statute is a prohibition on the performance or funding of abortions “except where” the
pregnancy resulted from rape or incest or where the life of the mother is endangered.11 Ex-
empting a category of abortions from a statutory prohibition is a far cry from a statutory
requirement to perform those abortions at military hospitals. There is no conflict whatsoever
between SB 8 and 10 U.S.C. § 1093. The same is true of the statutes that prohibit federal

employee health-benefit plans from covering abortions, except in cases of rape or incest or
where the mother’s life is in danger. See Consolidated Appropriations Act, 2021, Pub. L.




11. See 10 U.S.C. § 1093 (“(a) Restriction on Use of Funds.—Funds available to the
    Department of Defense may not be used to perform abortions except where the life of
    the mother would be endangered if the fetus were carried to term or in a case in which
    the pregnancy is the result of an act of rape or incest. (b) Restriction on Use of
    Facilities.— No medical treatment facility or other facility of the Department of De-
    fense may be used to perform an abortion except where the life of the mother would be
    endangered if the fetus were carried to term or in a case in which the pregnancy is the
    result of an act of rape or incest.”).


intervenors’ brief opposing motion for preliminary injunction                     Page 16 of 22
        Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 22 of 27



116-260, 134 Stat. 1182 §§ 613–14 (Dec. 27, 2020). Those statutes do not require cover-
age of abortions that are exempted from the statutory prohibition,12 so there is no conceiv-

able conflict between these statutes and SB 8 — let alone a “clear showing” of such a conflict.
    Finally, the United States’ “preemption” and “intergovernmental immunity” claims can
warrant only as-applied relief against the enforcement of SB 8. Any preliminary injunction
based on these preemption or intergovernmental-immunity arguments must be limited to
the circumstances in which the enforcement of SB 8 will allegedly conflict with federal law,
especially given the emphatic severability requirements that appear throughout SB 8. See
Senate Bill 8, 87th Leg., §§ 3, 5, 10; Tex. Health & Safety Code § 171.212(a). The United
States does not even attempt to explain how its preemption or intergovernmental-immunity
objections could support an injunction that bans Texas from enforcing SB 8 in any situation.
The United States apparently subscribes to a reverse-Salerno principle that applies only to
abortion statutes,13 where “facial invalidation” is required if there is even a single unconsti-
tutional or invalid application the law, and where severability clauses are to be disregarded
whenever they appear in abortion statutes. That stance is nothing short of lawlessness. The
United States must justify its request for an across-the-board injunction and explain how this
Court can provide such a remedy; it cannot pretend that the statute is non-severable or act
as though this Court can enjoin Texas from enforcing SB 8 in situations that do not conflict
with any federal law.



12. See Consolidated Appropriations Act, 2021, Pub. L. 116-260, 134 Stat. 1182 §§ 613–
    14 (Dec. 27, 2020) (“Sec. 613. No funds appropriated by this Act shall be available to
    pay for an abortion, or the administrative expenses in connection with any health plan
    under the Federal employees health benefits program which provides any benefits or
    coverage for abortions. Sec. 614. The provision of section 613 shall not apply where the
    life of the mother would be endangered if the fetus were carried to term, or the preg-
    nancy is the result of an act of rape or incest.”).
13. United States v. Salerno, 481 U.S. 739, 745 (1987) (“A facial challenge to a legislative
    Act is, of course, the most diﬃcult challenge to mount successfully, since the challenger
    must establish that no set of circumstances exists under which the Act would be valid.”).


intervenors’ brief opposing motion for preliminary injunction                      Page 17 of 22
          Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 23 of 27



        F.      The United States Has Failed To Make A “Clear Showing” That The
                Law Has The Sweeping Effects It Alleges.
      The entire premise of the United States’ ill-founded lawsuit is that SB 8 is a “near-total”

ban of abortion that justifies the extraordinary intervention they seek from this Court. See
Pl.’s Br., ECF No. 8 at 2. The United States spends a dozen pages, or one-third of its entire
brief, relying on hearsay declarations from abortion doctors and clinics to establish that fear
of numerous frivolous lawsuits brought under SB 8 has chilled abortion providers from “of-
fering virtually any abortions,” which they claim “likely amounts to between 85% and 95%
of all abortions previously provided.” Pl.’s Br., ECF No. 8 at 5, 7. But despite the law having
been in effect for nearly a month, the United States offers no concrete evidence to back up
these dire claims. What evidence there is suggests the opposite, as Intervenor-Defendants
intend to establish through testimony and evidence at the preliminary-injunction hearing.
      As discussed below, the legal basis for the United States’ case is weak at best and does
not meet the “clear showing” standard necessary for a preliminary injunction. The United
States’ unsubstantiated claims that the sky is falling cannot compensate for that weakness.

II.     The United States Has Failed To Make A Clear Showing That A
        Preliminary Injunction Will Prevent Irreparable Harm
      The United States claims that it is suffering irreparable harm from Senate Bill 8. But that
is not the showing required to obtain a preliminary injunction. The United States must show
that a preliminary injunction from this Court will alleviate or eliminate those harms. See Roho,
902 F.2d at 358 (movant must demonstrate, “by a clear showing: . . . (2) a substantial threat
of irreparable harm if the injunction is not granted” (emphasis added)). And the United States
has not made any assertion or showing that a preliminary injunction will restore access to
post-heartbeat abortions in Texas.
      The problem for the United States is that a preliminary injunction from this Court will

not revoke or in any way cancel the statute, which will remain in effect no matter what this
Court does. An injunction from this Court will merely prevent Texas from enforcing SB 8
while the injunction remains in existence. See Okpalobi v. Foster, 244 F.3d 405, 426 n.34 (5th



intervenors’ brief opposing motion for preliminary injunction                       Page 18 of 22
         Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 24 of 27



Cir. 2001) (en banc) (“An injunction enjoins a defendant, not a statute.”). The statute will
remain in effect even if this Court issues the preliminary injunction and gives the United

States everything that it asks for, and the in terrorem effects of SB 8 will continue to prevent
abortion providers from performing post-heartbeat abortions in Texas.
    First. A preliminary injunction against the state of Texas will not prevent abortion pro-
viders (and their enablers) from being sued in federal district court under the diversity juris-
diction. Senate Bill 8 allows “any person” to sue, regardless of whether they live in Texas,
and any citizen of another state can sue a person who violates SB 8 in federal court if they
can establish Article III standing. Any out-of-state couple that is waiting to adopt from a
Texas-based adoption agency, for example, can assert “injury in fact” from the negative ef-
fects that abortion has on adoption markets,14 and they will clear the $75,000 amount-in-
controversy requirement if the defendant has performed (or assisted) more than seven post-
heartbeat abortions. An injunction from this Court will have no effect on those federal-court
proceedings. See Camreta v. Greene, 563 U.S. 692, 709 n.7 (2011) (“A decision of a federal
district court judge is not binding precedent in either a different judicial district, the same
judicial district, or even upon the same judge in a different case.”); Tex. Health & Safety
Code § 171.208(e)(5) (non-mutual issue or claim preclusion no defense).
    Second. A preliminary injunction will not protect abortion providers from being sued
over post-heartbeat abortions that they perform if the injunction is vacated on appeal. See
Tex. Health & Safety Code § 171.208(e)(3)–(4). An injunction from this Court does not
operate as a permanent shield from civil liability, and it cannot protect abortion providers if

it is vacated by the Fifth Circuit or the Supreme Court. See, e.g., Edgar v. MITE Corp., 457
U.S. 624, 648–49 (1982) (Stevens, J., concurring). No rational abortion provider would
subject itself to the risk of civil liability to the tune of $10,000 per illegal abortion, especially


14. See Richard A. Posner, The Regulation of the Market in Adoptions, 67 B.U. L. Rev. 59,
    63 (1987) (“The supply of babies for adoption has been dramatically aﬀected by the
    increase in abortions since the Supreme Court’s decision in Roe v. Wade.”).


intervenors’ brief opposing motion for preliminary injunction                           Page 19 of 22
           Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 25 of 27



when the statute of limitations is four years,15 and especially at a time when the Supreme
Court is considering whether to overrule Roe v. Wade. See Dobbs v. Jackson Women’s Health

Organization, No. 19-1392.
       The burden is on the United States to show that a preliminary injunction will cause
abortion providers to resume post-heartbeat abortions in Texas — and the United States must
make a “clear showing” that this will occur. See Voting for America, 732 F.3d at 386. Yet the
United States has produced no evidence that any abortion provider will resume post-heart-
beat abortions in response to a preliminary injunction from this Court. Amy Hagstrom Mil-
ler’s declaration (ECF No. 8-5) never says that Whole Woman’s Health will perform post-
heartbeat abortions if this Court issues a preliminary injunction, and Melaney Linton’s dec-
laration (ECF No. 8-6) makes no such claim with respect to Planned Parenthood. So there
is no evidence that even asserts (let alone proves) that a preliminary injunction from this
Court will in any way alleviate the “harms” of which the United States complains.

III.     The United States Has Failed To Make A “Clear Showing” That
         The Balance Of Equities Weighs In Its Favor
       The United States has failed to show that a preliminary injunction will restore access to
post-heartbeat abortions in Texas, see supra Section II, so it has not made a “clear showing”
that the balance of equities weighs in favor of a preliminary injunction.

IV.      The United States Has Failed To Make A “Clear Showing” That
         The Public Interest Favors A Preliminary Injunction That
         Prevents Texas From Enforcing SB 8 In Any Situation
       It is undisputed that at least some provisions and applications of SB 8 are constitutional.16
Yet the United States demands a total, across-the-board injunction that would prevent Texas
from enforcing SB 8 in any situation. An injunction that prevents the enforcement of a stat-
ute’s constitutional provisions and applications is by definition contrary to the public interest.
See Berman v. Parker, 348 U.S. 26, 32 (1954) (“Subject to specific constitutional limitations,

15. See Tex. Health & Safety Code § 171.208(d).
16. See supra Section I.B.


intervenors’ brief opposing motion for preliminary injunction                          Page 20 of 22
         Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 26 of 27



when the legislature has spoken, the public interest has been declared in terms well-nigh
conclusive. In such cases the legislature, not the judiciary, is the main guardian of the public

needs to be served by social legislation, whether it be Congress legislating concerning the
District of Columbia . . . or the States legislating concerning local affairs.”).

                                      CONCLUSION
    The motion for preliminary injunction should be denied.

                                                   Respectfully submitted.

                                                    /s/ Jonathan F. Mitchell
 Heather Gebelin Hacker                            Jonathan F. Mitchell
 Texas Bar No. 24103325                            Texas Bar No. 24075463
 A ndrew B. Stephens                               Mitchell Law PLLC
 Texas Bar No. 24079396                            111 Congress Avenue, Suite 400
 Hacker Stephens LLP                               Austin, Texas 78701
 108 Wild Basin Road South, Suite 250              (512) 686-3940 (phone)
 Austin, Texas 78746                               (512) 686-3941 (fax)
 (512) 399-3022 (phone)                            jonathan@mitchell.law
 heather@hackerstephens.com
 andrew@hackerstephens.com                         (additional counsel on following page)
                                                   Gene P. Hamilton*
                                                   Virginia Bar No. 80434
                                                   Vice-President and General Counsel
                                                   America First Legal Foundation
                                                   300 Independence Avenue SE
                                                   Washington, DC 20003
                                                   (202) 964-3721 (phone)
                                                   gene.hamilton@aflegal.org

                                                   * admitted pro hac vice

                                                   Counsel for Intervenors Erick Graham,
 Dated: September 29, 2021                         Jeff Tuley, and Mistie Sharp




intervenors’ brief opposing motion for preliminary injunction                       Page 21 of 22
         Case 1:21-cv-00796-RP Document 44 Filed 09/29/21 Page 27 of 27



                              CERTIFICATE OF SERVICE
    I certify that on September 29, 2021, I served this document through CM/ECF upon
all counsel of record in this case.


                                        /s/ Jonathan F. Mitchell
                                       Jonathan F. Mitchell
                                       Counsel for Intervenors Erick Graham,
                                       Jeff Tuley, and Mistie Sharp




intervenors’ brief opposing motion for preliminary injunction              Page 22 of 22
